Case: 2:18-cv-00966-EAS-EPD Doc #: 81 Filed: 09/26/20 Page: 1 of 2 PAGEID #: 644




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF OHIO
                                 Eastern Division


WILLIAM SCHMITT, JR., CHAD THOMPSON,
AND DEBBIE BLEWITT,

                                      Plaintiffs,

v.                                                                   CASE NO. 2:18-cv-966

CRAIG M. STEPHENS, PATRICIA NELSON,
DORIA DANIELS, AND ELAYNE J. CROSS,

in their official capacities as members of the
Portage County Board of Elections,

                                      Defendants.


                                     NOTICE OF APPEAL

       Plaintiffs, WILLIAM SCHMITT, JR., CHAD THOMPSON, AND DEBBIE BLEWITT,

appeal the final judgment of the United States District Court for the Southern District of Ohio

denying an award of attorney's fees under 42 U.S.C. § 1988(b) to Plaintiffs, see Opinion and

Order, R.79; Judgment in a Civil Action, R.80, entered the 21st day of September, 2020, and in

favor of Defendants, CRAIG M. STEPHENS, PATRICIA NELSON, DORIA DANIELS, AND

ELAYNE J. CROSS, in their official capacities as members of the Portage County Board of

Elections, said final order, see Opinion and Order, R.79, also refusing to alter and/or amend the

Court's prior non-final order, see Order, R. 71, denying an award of attorney's fees to Plaintiffs

without mentioning the liability of Defendants, CRAIG M. STEPHENS, PATRICIA NELSON,

DORIA DANIELS, AND ELAYNE J. CROSS, in their official capacities as members of the

Portage County Board of Elections, for Plaintiffs' attorney's fees under 42 U.S.C. § 1988(b).




                                                    1
Case: 2:18-cv-00966-EAS-EPD Doc #: 81 Filed: 09/26/20 Page: 2 of 2 PAGEID #: 645




                                           Respectfully submitted,


                                           /s/ Mark R. Brown

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